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                                  1HEUNITEDSTA1FSBANKRUPfCY OOURT
                                    FOR1HE SOUilIERNDISIRICTOFOHIO


1NRE:
CarleanDates
        CreditorlDebtor(sYAppellant

                                                                  Case No. 1:18-bk-14602
                                                                  Adv. Proc. No: 1:19-ap-01011


 Notice/Demand/Motion for New Trial For Temporary Restraining Order Under Federal Rule of Civll
Procedure Rule 59{a) and Federal Rule of Bankruptcy Procedure 9023 denied by the Court on June 19,
         2019 and Conditional Acceptance of Order of June 19, 2019 Under Proof of Claim

 By and for carlean:      date entitlement holder, for CARLEAN DATES estate demand a new trial for

Temporary Restraining Order and states the following:

                               VERDICT IS AGAINST THE WEIGHT OF EVIDENCE


    1. The order stated it should be on its merits and never verified that there is evidence of a clean

        chain of title.

   2. There is no evidence that HSBC BANK and JOHN D CLUNK has a right to enter this bankruptcy as

        a creditor.


                                       NEWLY DISCOVERED EVIDENCE


   3. The Hamilton County Cincinnati Water Works states U. S. Bank is the owner of the property in

        the adversary complaint and not HSBC BANK


                            CONDITIONAL ACCEPTANCE UNDER PROOF OF CLAIM


   4. Carlean:        dates conditional accept your order on June 19, 2019 by the court under proof of

        claim that:
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           i.   That the promissory note and mortgage in the Adversary complaint is not a gift from the

                estate of CARLEAN DATES and makes carlean: dates the original issuer the creditor

                based on IRS Manual 6209 code 5 classification of the promissory note and mortgage as

                a gift

          ii.   That HSBC has filed with the IRS a 1099-010 and 8281 lrs form showing they are the

                original source of the funds for the promissory note and mortgage in the Adversary

                Complaint connected to Carlean:         dates for the property commonly known as 12062

                Hazelhurst Drive Cincinnati, Ohio.

         iii.   Proof of Claim that carlean:       dates is not the beneficial owner and entitlement holder

                of the securities (promissory note and mortgage) in the adversary complaint.

    5. Wherefore, there is no evidence before the court that HSBC has a clean chain of title and is a

       creditor the order of June 19, 2019 must be reversed. This order would be a taxable event and

       as credit a demand that this court file a 1099-A; 1099-C; 1099-O1D and 8281 IRS form showing

        CARLEAN DATES estate as the original source of the funds for the promissory note and mortgage

       in the adversary complaint.




Isl CARLEAN DATES
CARLEAN DATES

"I declare (or certify, verify, or state) under penalty of perjury under the laws of the United
States of America that the f ~ :s        .true and correct. (28 USCA 1746(1) without the United
States) on  3        day of                                , 2019
                             ,J
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                                                                                                     A        ·--'--




                                               j    carlean: dates, entitlement holder
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                                  CERTIFICATE OF SERVICE

       On    ,3      day of, )     ,(~'             , 2019, the undersigned, served a copy of

the DESIGNATION OF RECORD by U.S. MAIL to the following parties:

George P. Leicht
POBox602
Batavia, OH 45103

U.S. TRUSTEE
36 EAST 7TH ST. SUITE 2030
CINCINNATI, OHIO 45202

HSBC BANK USA NA as trustee Mortgage
P.O. Box 619096
Dallas, TX, 75261-9741

JOHN CLUNK--SUITE400
4500 COURTHOUSE BLVD
STOW, OHIO 44224

Carpenter Lipps & Leland LLP
280 Plaza, Suite 1300
280 North High Street
Columbus, Ohio 43215

Ls/ CARLEAN DATES
CARLEAN DATES

"I declare (or certify, verify, or state) under penalty of perjury under the laws of the United
States of Am~ica that the for,egoin;is rue and correct. (28 USCA 1746(1) without the United
States) on .;5       day of            ··'                  2019
                                   1/



              By:/! ii ~      ),£&-/1.b<- c/-e,;J{t   ,<l       day of    }V~           ,2019
              Submitting Party entitlement holder- carlean:    dates   3 ~
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             This document has been electronically entered tn the records of the United
             States Bankruptcy Court for the Southern District of Ohio.


             IT IS SO ORDERED.

                                                            * Beth A. Buchanan
                                                              United States Bankruptcy Judge
             Dated: June 19, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF omo
                                        WESTERN DMSION

                                                    )
              In re:                                )
                                                    )   Case No. 18-14602
              CARLEAN DATES                         )   Chapter?
                                                    )   Judge Buchanan
             ____________              Detar        )
                                                    )
                                                    )
             CARLEANDATES                           )   Adv. No. 19-1011
                                                    )
                                       Plaintiff    )
                       v.                           )
                                                    )
             HSBC BANK USA, NA, AS TRUSTEE,         )
             IN TRUST FOR THE CERTfflCATE           )
             HOLDER OF ACE SECURITIES               )
             CORP. HOME EQUITY LOAN                 )
             TRUST,SERIES2006-FM2,ASSET-            )
             BACK PASS-THROUGH ,                    )
             CERTIFICATES, ET AL.                   )
                                                    )
                                       Defendants   )


               ORDER DENYING PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING
              ORDER OF HSBC BANK USA, N.A., AS TRUSTEE AND JOHN D. CLUNK CO. LPA
              DURING PENDING APPEAL ON ADVERSARY COMPLAINT (Docket Number 40]




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                          This matter is before this Court on the Motion for Temporary Restraining Order of HSBC

                 Bank USA NA as Trustee and John D Clunk Co LPA During Pending Appeal on Adversary

                 Complaint [Docket Number 40] (the "Motion") filed by Plaintiff Carlean Dates ("Plaintiff').

                          Plaintiff has appealed this Court's Memorandum Decision: (1) Granting HSBC Bank USA,

                 N.A., as Trustee's Motion to Dismiss Adversary Complaint; (2) Granting Defendant, The Law

                 Offices ofJohn D. Clunk Co., LPA 's Motion to Dismis; -And- (3) Dismissing Adversary Complaint

                 [Docket Number.28], and this Court's Order of the Court: (1) Granting HSBC Bank USA, N.A.,

                 as Trustee's Motion to Dismiss Adversary Compl,aint; (2) Granting Defendant The Law Offices of

                 John D. Clunk Co., LPA 's Motion to Dismiss; -And- (3) Dismissing Adversary Complaint [Docket

                 Number 29]; see also [Docket Numbers 32 and 33 j.

                          This Court construes Plaintiff's Motion as a request for a stay pending appeal. Thus,

                 Plaintiff's Motion is governed by Rule 8007 of the Federal Rules of Bankruptcy Procedure.

                          Under Sixth Circuit law, this Court must balance four factors when deciding whether a stay

                 should issue: ( l) whether the applicant has demonstrated a strong or substantial likelihood of

                 success on the merits; (2) whether the applicant will be irreparably injured absent a stay;

                 (3) whether issuance of the stay will substantially injure the other interested parties; and (4) where

                 the public interest lies. Baker v. Adams County/Ohio Volley School Bd., 310 F.3d 927, 928 (6th

                 Cir. 2002);Mich. Coal. ofRadioactive Material Users, Inc. v. Griepentrog, 945 F2d 150,153 (6th

                 Cir. 1991). Plaintiff, as the movant, bears the burden of establishing by a preponderance of the

                 evidence that it is entitled to a stay pending appeal. See Serv. Emps. Int 'l Union Local 1 v. Husted,

                 698 F.3d 341, 343 (6th Cir. 2012).

                          This Court finds that the first factor, likelihood of success on the merits, weighs against

                 granting a stay pending appeal. A stay applicant is required to show, at a minimum, serious




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              questions going to the merits. Am. Imaging Servs., Inc. v. Eagle-Picher Indus., Inc. (In re Eagle-

              Picher Indus., Inc.), 963 F.2d 855, 859-60 (6th Cir. 1992). The present Motion does not meet this

              standard. The order on appeal is the dismissal of Plaintiff's Complaint to Determine the Extent

              and Validity of Lien on Real Property, for Fraud and Conditional Acceptance Under Proof of

              Claim. Plaintiff's asserted claims for relief in this case are substantively the same as the claims

              she raised in the oomplaint she filed in an adversary proceeding initiated in Plaintiff's prior

              bankruptcy case., See Bankr. Case Number 16-1241 O; Adversary Proc. Case Number 16-1052. In

              that prior adversary proceeding, this Court found that Plaintiff's claims were precluded by the state

              court determination that HSBC Bank USA. N.A., as Trustee, in trust for the registered holders of

              ACE Securities Corp. Home Equity Loan Trust, Series 2006-FM2, Asset Backed Pass-Through

              Certificates ("HSBC") holds a valid lien against Plaintiff's residential property. See Docket

              Number 28. Plaintiff appealed this Court's prior decision to the United States District Court for

              the Southern
                         . District of Ohio. See
                                             .   Case
                                                  -   Number
                                                      .                          .. dismissed for failure
                                                             l 7-cv-634. That.~ was

              to prosecute. See Case No. l 7-cv-634, Docket Number 4. Given that the issues Plaintiff seeks to

              raise on appeal have been previously adjudicated with an opportunity to appeal, the likelihood of

              success on the merits weighs against granting a stay pending appeal.

                     The second factor requires this Court to consider whether Plaintiff will be irreparably

             banned if a stay is not granted. Plaintiff doos not specify in her Motion precisely what actions she

             seeks to have stayed. Nor does she argue that she will be irreparably harmed if a stay pending

             appeal is not granted. Rather, Plaintiff simply restates her prior position that HSBC does not hold

             a valid lien against her residential property. As such, Plaintiff has not met her burden to establish

              irreparable harm if the stay is not granted.




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                         The third consideration is whether other interested parties-in this case, HSBC 1-will be

                  substantially injured by the granting of the stay. Again, Plaintiff has not articulated the scope of

                  the requested stay. To the extent Plaintiff is seeking to stay HSBC' s enforcement of its state court

                  rights under the note and mortgage, this Court notes that HSBC received relief from stay pursuant

               to 11 U.S.C. § 362(d)(4) in Plaintiff's prior bankruptcy proceeding. See Bankr. Case Number 18-

                  13150, Docket Number 26 entered on October 9, 2018. Relief from stay pursuant to 11 U.S.C.

               § 362(d)(4) entitles HSBC to in rem relief from stay as relates to Plaintiff's residence for two years

               from entry of the order granting relief-meaning that HSBC can pursue its state court remedies

               against the property regardless of any intervening bankruptcy filings by Plaintiff (or any other

               party asserting an interest in the property). Plaintiff did not appeal the order granting HSBC relief

               from stay. HSBC is entitled to rely on the finality of that order and would be substantially harmed

               by a stay being issued in this proceeding pending Plaintiff's appeal.2 Accordingly, this factor also

              weighs against granting a stay pending appeal.

                         Finally, this Court .looks to the public interest. There is a public interest in preveating

              debtors from using the bankruptcy process to create undue delay. See In re Skymark Properties

              11, LLC, 597 B.R. 619,626 (Bankr. E.D. Mich. 2019); Mick First Credit Union v. Smith (In re

              Smith), 501 B.R. 332,337 (Bankr. E.D. Mich. 2013). Given the likelihood that Plaintiff will not

              prevail on the merits of the appeal, granting a stay would cause a further delay that is not in the

              public interest.




              1
                It is uncJear what relief, if any, Plaintiff seeks against John D. Clunk and/or John D. Clunk Co. LPA in Plaintiff's
              complaint and is similarly uncJear what actions she seeks to stay as to these parties by her Motion.
              1  HSBC, John D. Clunk and John D. Clunk Co. LPA should also be entitled to rely on the finality of the orders
              dismissing Plaintilr s complaint/order granting judgment on the pleadings entered in Bankr. Case Number 16-1241 O;
              Adversary Proc. Case Number 16-1052 and would be substantially harmed by granting a stay that may impinge
              on their actions taken in reliance on those final and now non-appealable orders.




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               Plaintiff has failed to carry her burden of showing that a stay pending appeal would be

        appropriate. Accordingly, the Motion is hereby DENIED.

               SO ORDERED.

        Distribution List:

               Carlean Dates
               12062 Hazelhurst Drive
               Cincinnati, OH 45240

               David A Wallace, Esq.

               LeAnn E Covey, Esq.
